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                                                #:498



                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL
 Case No.        2:24-cv-01035-ODW (MARx)                             Date    June 30, 2025
 Title           Daniel Alvarez et al. v. Los Angeles County et al.


 Present: The Honorable          Otis D. Wright II, United States District Judge
                Sheila English                             Not reported                       N/A
                Deputy Clerk                       Court Reporter / Recorder             Tape No.
          Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                     Not present                                          Not present
 Proceedings (In Chambers):                   ORDER STRIKING DOCUMENT (ECF No. 47.)


     The Court reviewed Defendant Los Angeles County’s Motion to Dismiss, (ECF No. 47).
The Court STRIKES that document for the following reason(s):

___      Motion filed less than twenty-eight days before date noticed for hearing, or less than
         thirty-five days before date noticed for hearing motion for summary judgment. See C.D.
         Cal. Civ. L.R. 6-1; Scheduling and Case Management Order ¶ 6.f.

___      Missing statement of Conference of Counsel Prior to Filing of Motions, or conference
         held less than seven days prior to filing of the motion. See C.D. Cal. Civ. L.R. 7-3.

_X_ Failure to meet and confer “to discuss thoroughly, preferably in person, the substance of
    the contemplated motion and any potential resolution.” See C.D. Cal. Civ. L.R. 7-3.

___      Over-length. See C.D. Cal. Civ. L.R. 11-6; Order Setting Scheduling Conference 5.

___      Missing required information (e.g., Notice of Motion; title page or caption information;
         table of contents; table of authorities; index of exhibits; Proposed Order, etc.). See C.D.
         Cal. Civ. L.R. 7-4, 7-20, 11-3, 11-8.

___      Does not comply with C.D. Cal. Civ. L.R. 7-6 or 11-5 regarding evidence on motions or
         filing exhibits electronically.


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___      Does not contain a statement of material facts with numbered paragraphs or fails to
         respond to statement of material facts in motion. See Scheduling and Case Management
         Order ¶ 6.f.

___      Response does not list and respond to the numbered statement of material facts from the
         Motion for Summary Judgment. Scheduling and Case Management Order ¶ 6.f.

___      Does not comply with L.R. 79-5 regarding filing an item under seal in a civil case.

___      Does not comply with Order or Notice in this case for the following reasons:
         _____________________________________________.

___      Other: _______________________________________.



         The document is stricken and not part of the record.


         IT IS SO ORDERED.

                                                                                 :    00
                                                 Initials of Preparer   SE




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